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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

James Chavez, on behalf of           :       Case No. 8:24-cv-02362
himself and
all others similarly situated,       :       Judge Thomas P. Barber

             Plaintiff,              :       Magistrate Judge
                                             Anthony E. Porcelli
                                     :
v.
                                     :
Launch Holdings, LLC, et al.
                                     :
             Defendants.
                                     :

     MOTION OF DEFENDANTS LAUNCH HOLDINGS, LLC AND
                    LAUNCH LABS, LLC
        TO DISMISS AND STRIKE CLASS ALLEGATIONS

      Defendants Launch Holdings, LLC and Launch Labs, LLC (collectively

“Defendants”) respectfully move for an Order granting the following relief

requested: (i) an Order dismissing the First Amended Complaint as to all

injunctive relief claims pursuant to Fed. R. Civ. P. 12(b)(1); and (ii) an Order

striking the Plaintiff’s Rule 23(b)(2) injunctive relief class pursuant to Fed. R.

Civ. P. 12(f) and 23(c)(1).

      The basis for Defendant’s requested relief of an Order dismissing the

First Amended Complaint as to all injunctive relief claims pursuant to Fed. R.


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Civ. P. 12(b)(1) is premised on the fact that Plaintiff fails to plead any basis

that the alleged wrongful conduct is ongoing or anything more than an isolated

set of text messages that occurred more than four months ago. In the absence

of alleged ongoing harm, Plaintiff lacks Article III standing to seek injunctive

relief.

          The basis for Defendants’ requested relief of an Order striking the

Plaintiff’s Rule 23(b)(2) injunctive relief class pursuant to Fed. R. Civ. P. 12(f)

and 23(c)(1) is based on the fact that Plaintiff seeks monetary statutory

damages on behalf of himself and others similarly situated that are not merely

incidental to injunctive relief, as required to maintain a class pursuant to Fed.

R. Civ. P. 23(b)(2).

          A Memorandum in Support of this Motion follows.




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                                    Respectfully submitted,


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               MEMORANDUM IN SUPPORT OF
     MOTION OF DEFENDANTS LAUNCH HOLDINGS, LLC AND
                    LAUNCH LABS, LLC
        TO DISMISS AND STRIKE CLASS ALLEGATIONS

I.    INTRODUCTION AND BACKGROUND

      This is a putative class action brought under the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”). Plaintiff alleges that he

received text messages sent by Defendants on behalf of Kubi Homes starting

in April 2024, and that those text messages violate the TCPA as telephone

solicitations delivered to a number listed on the national Do Not Call Registry.

Specifically, Plaintiff alleges to have received text messages starting in April

2024. Although Plaintiff vaguely alleges to receive text messages “continuing

through the present,” the text messages identified in the First Amended

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Complaint are dated from April 2024 through June 2024. (First Amended

Complaint (“FAC”), ECF No. 13 at ¶17.)         Plaintiff does not identify any

communications occurring at any time after June, 2024. See generally id.

      The FAC seeks statutory damages under the TCPA pursuant to 47

U.S.C. § 227(c)(5)(B) and statutory treble damages pursuant to 47 U.S.C. §

227(c)(5)(C). (FAC, ECF No. 17 at Prayer for Relief (f) and (g).) These sections

provide for an award of statutory damages for each violation of the TCPA

ranging between $500 and $1,500 in money damages for each call made to

Plaintiff and putative class members. Id. Plaintiff also seeks injunctive relief

against Launch “[a]djudging and declaring that Defendants violated 47 U.S.C.

§ 227(c)(5); and “[e]njoining Defendants from continuing their violative

behavior, including continuing to deliver solicitation text messages to

telephone numbers registered with the DNC Registry for at least thirty days.”

Id. at Prayer for Relief (d) and (e).

      The portions of the FAC seeking injunctive relief must be dismissed

because Plaintiff has not pled (and cannot plead) any basis that the alleged

wrongful conduct is ongoing or anything more than an isolated set of text

messages that occurred between April 2024 and June 2024. Because the FAC

fails to allege any prospect of future harm, any claim for injunctive relief must

also be dismissed because Plaintiff lacks Article III standing with respect to

any such injunctive relief.

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      For the same reasons, Plaintiff’s Rule 23(b)(2) class must be stricken.

The FAC asserts classes based on both Fed. R. Civ. P. 23(b)(2) and (b)(3).

However, Plaintiff’s claim for significant statutory damages demonstrates that

this action is predicated on monetary relief – or in the least, monetary damages

are not merely “incidental” to injunctive relief, as required to maintain a class

pursuant to Rule 23(b)(2). Therefore, Defendants also move for an Order

striking Plaintiff’s class claims as asserted pursuant to Fed. R. Civ. P. 23(b)(2).

II.   STATEMENT OF FACTS AS PLED IN THE FAC

      Plaintiff is a natural person who resides in Portsmouth, Virginia. (FAC,

ECF No. 13 at ¶5.) Defendants are limited liability companies with their

headquarters in Tampa, Florida. Id. at ¶¶6-7. Plaintiff’s cellular telephone

number has been on the national Do No Call Registry since December 5, 2019.

Id. at ¶16.

      Plaintiff alleges that beginning around April of 2024, he received text

messages from telephone numbers he did not recognize. (FAC, ECF No. 13 at

¶¶17-18.) Although Plaintiff’s FAC is silent about the exact dates on which he

received the alleged text messages, his screen shots show that the text

messages occurred between April 2024 and June 2024. Id. at ¶17. Plaintiff

does not allege to have received any text messages associated with Launch

after that time.



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       Plaintiff further alleges that he identified that text messages as being

associated with Kubi Homes, LLC, an entity which he sued in federal court in

Arizona. (FAC, ECF No. 13 at ¶20.) Plaintiff also alleges that he discovered

Defendants were associated with these text messages during the course of his

lawsuit against Kubi Homes. Id. at ¶21.

III.   LAW AND ARGUMENT

       A.    Plaintiff lacks Article III standing to seek injunctive relief.

       To demonstrate Article III standing, “a plaintiff must show (i) that he

suffered an injury in fact that is concrete, particularized, and actual or

imminent; (ii) that the injury was likely caused by the defendant; and (iii) that

the injury would likely be redressed by judicial relief.” TransUnion LLC v.

Ramirez, 141 S. Ct. 2190, 2203 (2021). Whether a party has Article III standing

is a threshold jurisdictional issue that courts must address before reaching the

merits of a case. See, e.g., Kawa Orthodontics, LLP v. Sec’y, U.S. Dep’t Treas.,

773 F.3d 243, 245 (11th Cir. 2014) (discussing threshold nature of standing).

“Standing to sue is a doctrine rooted in the traditional understanding of a case

or controversy. . . . The doctrine limits the category of litigants empowered to

maintain a lawsuit in federal court to seek redress for a legal wrong.” Spokeo,

Inc. v. Robins, 578 U.S. 330, 338 (2016), as revised (May 24, 2016).

       A motion to dismiss for lack of Article III standing is properly brought as

a motion to dismiss for lack of subject matter jurisdiction pursuant to Fed. R.

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Civ. P. 12(b)(1). See Malgeri v. Vitamins Because LLC, 19-22702-CIV, 2022 WL

16635274, at *6 (S.D. Fla. Sept. 30, 2022). Under Fed. R. Civ. P. 12(b)(1), a

defendant may attack subject matter jurisdiction in one of two ways, “facially

or factually”. Id. A facial challenge looks merely at the four corners of the

Complaint, whereas a factual challenge (which can be raised at any time)

considers matters outside the pleadings. See id. (discussing difference between

facial and factual challenge) (internal citations omitted).

      Here, the face of the FAC demonstrates that Plaintiff lacks Article III

standing to seek injunctive relief, which would require him to establish

“continuing, present adverse effects” traceable to Launch’s conduct. O’Shea v.

Littleton, 414 U.S. 488, 495-96 (1974); see also Schaevitz v. Braman Hyundai,

Inc., 437 F. Supp. 3d 1237, 1251–52 (S.D. Fla. 2019) (dismissing request for

injunctive relief in TCPA case for lack of standing where there was nothing

suggesting possible future injuries).

      Plaintiff has not and cannot establish the requisite conduct to create

Article III standing to seek injunctive relief. Plaintiff alleges that he received

text messages starting in April 2024. The text messages identified in the

Complaint are dated from April 2024 through June 2024. (FAC, ECF No. 13 at

¶17.) Plaintiff does not identify any communications occurring at any time

after June, 2024. Plaintiff fails to allege any continuing or possible future

injury. Because Plaintiff “lacks [Article III] standing to bring the asserted

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claims on his own behalf” against Launch, he also “lacks standing to represent

a class asserting such claims.” Atkinson v. Wal-Mart Stores, Inc., 2009 WL

1458020, at *4 (M.D. Fla. May 26, 2009).

      In Zononi v CHW Group, Inc., 22-CV-14358, 2023 WL 2667941, at *5

(S.D. Fla Mar. 7, 2023), the district court for the Southern District of Florida

held that similar allegations of injunctive relief in the operative pleading

militate in favor of dismissal:

      Here, Defendant argues the FAC fails to allege facts that show a
      likelihood of future injury, and the request for injunctive relief
      should therefore be dismissed. The Court agrees. After reviewing
      the FAC, the Court finds no allegations to suggest a threat of
      future injury, other than the mere fact of past injuries. Without
      more, past injuries alone do not suffice. The Court notes that
      Plaintiff submitted no argument to oppose Defendant's request for
      dismissal of the injunctive relief request. As such, the Court
      recommends the Motion be granted as to all requests for injunctive
      relief.

(Internal citations omitted.)

      The same result is compelled here, and the FAC is properly dismissed as

to all requests for injunctive relief.

      B.     The Rule 23(b)(2) injunctive relief class is also improper because
             monetary relief is the primary relief sought.

      To the extent that Plaintiff’s injunctive relief claims are not dismissed,

they nonetheless cannot be asserted through a Fed. R. Civ. P. 23(b)(2) class

because the impetus of this suit is the recovery of statutory damages. “The


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court may strike from a pleading ... any redundant, immaterial, impertinent,

or scandalous matter.” Fed. R. Civ. P. 12(f).

      Moreover, under Fed. R. Civ. P. 23(c)(1)(A), “[w]here the propriety of a

class action procedure is plain from the initial pleadings, a district court may

rule on this issue prior to the filing of a motion for class certification.”

Vandenbrink v. State Farm Mut. Auto. Ins. Co., Case No. 8:12-CV-897-T-

30TBM, 2012 WL 3156596, at *3 (M.D. Fla. Aug. 3, 2012); Dennis v. Whirlpool

Corp., Case No. 06-80784-CIV, 2007 WL 9701826, at *2 (S.D. Fla. Mar. 13,

2007) (“[A] court may strike class allegations as soon as ‘practicable.’”). Fed.

R. Civ. P. 23 “plainly indicates that the court may decide to reject a plaintiff’s

attempt to represent a class as soon as it becomes obvious that the plaintiff

will be unable to satisfy Rule 23.” Hill v. Wells Fargo Bank, N.A., 946 F. Supp.

2d 817, 829 (N.D. Ill. 2013).

      A class established pursuant to Fed. R. Civ. P. 23(b)(2) addresses

injunctive, not monetary, relief – where “final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.”

Notably, Fed. R. Civ. P. 23(b)(2) “does not authorize class certification when

each class member would be entitled to an individualized award of monetary

damages.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360-61 (2011). See

also Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1265 (11th Cir. 2009)

(“[M]onetary relief … is only available in a Rule 23(b)(2) class action if it is

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 incidental to the requested injunctive or declaratory relief.”). This distinction

 is important, because permitting Plaintiff to pursue a Fed. R. Civ. P. 23(b)(2)

 class would sidestep the due-process “procedural protections attending the

 (b)(3) class – predominance, superiority, mandatory notice, and the right to opt

 out.” Dukes, 654 U.S. at 361.

       Courts have repeatedly rejected Fed. R. Civ. P. 23(b)(2) certification for

 class claims seeking statutory damages under the TCPA. For instance, in a

 TCPA class action seeking certification pursuant to both Rules 23(b)(3) and

 (b)(2), one district court held: “Because the Court finds that monetary damages,

 and not the injunctive relief sought, is the predominate remedy requested for

 the class, the proposed class may not be certified under Rule 23(b)(2).” Cabrera

 v. Gov’t Emps. Ins. Co., Case No. 12-61390-CIV, 2014 WL 11894430, at *4 (S.D.

 Fla. Sept. 29, 2014). See also Jacobs v. Quicken Loans, Inc., Case No. 15-81386-

 CIV, 2017 WL 4838567, at *4 (S.D. Fla. Oct. 19, 2017) (“Here, the predominant

 relief is monetary, and Plaintiff's claim arises from one telephone call. Plaintiff

 does not explain how injunctive relief is primary.”); Connelly v. Hilton Grand

 Vacations Co., LLC, 294 F.R.D. 574, 579 (S.D. Cal. 2013) (“In this suit, each

 plaintiff is independently entitled to statutory damages under the TCPA of

 $500 to $1500 per unlawful call. Thus, Plaintiffs’ TCPA claims are ineligible

 for Rule 23(b)(2) certification, regardless of Plaintiffs’ parallel request for

 injunctive relief.”) (internal citations omitted).

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       In addition, courts have found it appropriate to strike (b)(2) TCPA

 classes at the pleadings stage pursuant to the fundamental precept that sizable

 statutory damages cannot be merely incidental to the purported need for

 injunctive relief. For example, in a recent decision involving a motion to strike

 class allegations from a TCPA complaint, a court reasoned:

       Zoulek’s complaint seeks both equitable and monetary relief. The
       monetary relief she seeks, however, is obviously not auxiliary to
       the injunction she also requests; it is the lawsuit’s principal aim
       and not capable of mechanical computation. On its face, then, the
       complaint is incapable of identifying a class that would be properly
       certified under Rule 23(b)(2). For that reason, Zoulek’s class
       allegations related to certification under Rule 23(b)(2) are stricken.

 Zoulek v. Gannett Co Inc., Case No. 22-CV-1464-BHL, 2023 WL 3568359, at *3

 (E.D. Wis. May 18, 2023) (cleaned up). Another court similarly acknowledged:

       Plaintiffs bring this action under the TCPA, which provides for
       statutory damages for every violation of the Act. In cases such as
       this one, the monetary tail would be wagging the injunction dog.
       An injunction is not a final remedy in cases such as this, where the
       injunction merely lays an evidentiary foundation for subsequent
       determinations of liability. Thus, Plaintiffs’ class allegations in
       regards to Rule 23(b)(2) are stricken.

 Wolfkiel v. Intersections Ins. Servs. Inc., 303 F.R.D. 287, 293 (N.D. Ill. 2014)

 (cleaned up). See also Progressive Health & Rehab Corp. v. Quinn Med., Inc.,

 323 F.R.D. 242, 248 (S.D. Ohio 2017) (“Contrary to Plaintiff's argument, no

 amount of discovery will show that these [TCPA] monetary damages are

 incidental to Plaintiff's injunctive claim… The Court therefore GRANTS



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 Defendant’s Motion to Strike as it pertains to Plaintiff’s allegations sounding

 in Rule 23(b)(2)”).

       The very nature of a TCPA class action, seeking statutory damages on a

 per call (or text) basis for each putative class member, precludes the

 certification of an injunctive relief class. Unless Plaintiff disclaims the class

 request for statutory damages, Launch respectfully submits that the Fed. R.

 Civ. P. 23(b)(2) class should be stricken from the pleadings.

 IV.   CONCLUSION

       For the foregoing reasons, Defendants respectfully move to (i) dismiss

 the FAC’s claims for injunctive relief pursuant to Fed. R. Civ. P. 12(b)(1), and

 (ii) strike Plaintiff’s Rule 23(b)(2) class from the FAC pursuant to Fed. R. Civ.

 P. 12(f) and 23(c)(1).

                                      Respectfully submitted,




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                  LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g), undersigned counsel certifies that she

 conferred with counsel for Plaintiff by telephone on October 29, 2024 and by

 email on December 2, 2024 regarding this Motion. During those conferrals,

 Plaintiff’s counsel advised that Plaintiff intends to oppose this Motion.



                                      /s/ Lisa A. Messner
                                      Lisa A. Messner
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                        CERTIFICATE OF SERVICE

       I certify that on December 3, 2024, I caused a copy of the foregoing

 document to be served by the Electronic Case Filing System for the United

 States District Court for the Middle District of Florida.


                                      /s/ Lisa A. Messner
                                      Counsel for Defendant
                                      Launch Holdings, LLC




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